                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,                           )
                                                    )
                          Plaintiff,                )
                                                    )
       vs.                                          )       No. 17-03097-01-CR-S-BP
                                                    )
JUAN E. SICOLO,                                     )
                                                    )
                          Defendant.                )


                        ACCEPTANCE OF PLEA OF GUILTY AND
                             ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to Count One and

admitted to the Forfeiture Allegation Two contained in the Indictment filed on August 15, 2017, is

now Accepted and the Defendant is Adjudged Guilty of such offense. Sentencing will be set by

subsequent Order of the Court.




                                                            /s/ Beth Phillips
                                                            BETH PHILLIPS
                                                    UNITED STATES DISTRICT JUDGE




Date: October 26, 2017




        Case 6:17-cr-03097-BP          Document 39       Filed 10/26/17     Page 1 of 1
